Case 9:16-cv-81530-DMM Document 35 Entered on FLSD Docket 10/18/2016 Page 1 of 3




         IN THE CIRCUIT COURT OF THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM DIVISION
                              CASE NO. 9:16-cv-81530-DMM


  GEO GROUP, INC.,

             Plaintiff,

  v.

  MATTHEW SWANDO,

        Defendant.
  _____________________________/


         DEFENDANT’S SURREPLY TO PLAINTIFF’S REPLY IN SUPPORT OF MOTION
                          FOR PRELIMINARY INJUNCTION

             Defendant, MATTHEW SWANDO, by and through his undersigned counsel, hereby

  files this Surreply to Plaintiff’s Reply in Support of Motion for Preliminary Injunction, and in

  support thereof states as follows:

             This action stems from Defendant’s alleged breach of his Consulting Agreement

  (“Agreement”) with Plaintiff. Specifically, Plaintiff alleges Defendant violated the Agreement’s

  restrictive covenant provision by joining Numerex. Government entities comprise the customer

  base of the industry contemplated by the Agreement. Customer relationships in this industry are

  predicated upon competitive open bidding for short-term contracts. In 2014, the Eleventh Circuit

  Court of Appeals vacated a preliminary injunction and held, albeit in dicta, that Shields – if

  applicable – would be binding in diversity cases. See Moon v. Med. Tech. Associates, Inc., 577 F.

  App'x 934, 936–37 (11th Cir. 2014) (“[T]he district court should consider the application of




  	                                                                                             2	  
Case 9:16-cv-81530-DMM Document 35 Entered on FLSD Docket 10/18/2016 Page 2 of 3



  Shields v. Paving Stone Co., Inc., . . . because a federal court sitting in diversity is bound to apply

  the law of the forum state.”) (citation omitted).

         While the parties seem to agree that Shields is potentially applicable, Plaintiff’s Reply in

  Support of Motion for Preliminary Injunction misstates the Shields decision. See Shields v.

  Paving Stone Co., 796 So. 2d 1267 (Fla. 4th DCA 2001). Plaintiff claims that “Shields . . .

  simply stand[s] for the unremarkable proposition that relationships with former customers are not

  a legitimate business interest without some ongoing relationship or other basis to reasonabl[y]

  expect a continued relationship.” DE 20, p. 3.

         A plain reading reveals that the Shields Court’s ruling was not limited to “former

  customers”:

                 Because [appellee] did not have exclusive relationships with any
                 of its customers and information on customers was readily
                 obtainable through the yellow pages and trade subscriptions, the
                 nonsolicitation/nondisclosure agreement was not reasonable to
                 protect [appellee]’s customer base.

  Shields, 796 So. 2d at 1269 (emphasis supplied). The crux of Shields is not the current

  relationship status between customers and the party seeking enjoinment. Rather, it is the process

  through which customers are procured. See id. (“[Injunction] order must clearly direct that

  [enjoinment] does not include customers obtained through the open bidding process.”).

  Plaintiff’s reading is found nowhere within the case.

         WHEREFORE, Defendant requests that this Court deny Plaintiff’s Motion for

  Preliminary Injunction.


  Dated: October 13, 2016


                                                                         Respectfully submitted,

                                                                         /s/ Jonathan Pollard


  	                                                                                                   3	  
Case 9:16-cv-81530-DMM Document 35 Entered on FLSD Docket 10/18/2016 Page 3 of 3



                                                      Jonathan E. Pollard
                                                      Florida Bar No.: 83613
                                                      Pollard PLLC
                                                      401 E. Las Olas Blvd #1400
                                                      Fort Lauderdale, FL 33301
                                                      Telephone: (954) 332-2380
                                                      Facsimile: (866) 594 5731
                                                      jpollard@pollardllc.com
                                                      Attorney for Defendant



  	  




  	                                                                               4	  
